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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )           8:04CR443-2
                                          )
             Plaintiff,                   )
                                          )           MEMORANDUM
vs.                                       )           AND ORDER
                                          )
KEVIN WARNER,                             )
                                          )
             Defendant.                   )

      On the court’s own motion,

      IT IS ORDERED that Defendant Warner’s sentencing before the undersigned
United States district judge is rescheduled to Friday, June 24, 2005, at 10:30 a.m., in
the Special Proceedings Courtroom, 4th Floor, Roman L. Hruska United States
Courthouse, Omaha, Nebraska. Since this is a criminal case, the defendant shall be
present unless excused by the court.

      DATED this 22nd day of April, 2005.

                                              BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
